Case 1:23-cv-01346-JSR Document 227 Filed 04/01/24 Page1of1

e Malek v. Fed. Ins. Co., 994 F.2d 49, 54 (2d Cir. 1993) (reversing a
district court because, among other reasons, plaintiffs’ expert was
“necessary to assist... in preparing to cross examine’ their
adversary’s expert and he “was not a fact witness whose recollection
might have been colored” by the testimony he observed).

e Trans World Metals, Inc. v. Southwire Co., 769 F.2d 902, 910-11 (2d
Cir. 1985) (approving a district court’s ruling permitting a rebuttal
expert to remain in the courtroom to hear the testimony of adversary’s
expert, and emphasizing that the rebuttal expert “was not a fact
witness whose recollection might have been colored by accounts of
prior witnesses’)

e United States v. Ray, 589 F. Supp. 3d 298, 301 (S.D.N.Y. 2022)
(exempting Government's summary expert from sequestration
because, among other reasons, her “role .. . will be to provide tax
calculations based on the testimony of others at trial”); see id. (“While
in the end it may prove to have been unnecessary for her to have
been present for the testimony of each of the witnesses, the
Government cannot know that for sure in advance. ... Even if the
Government does not know .. . that a witness will offer evidence on
direct that will inform [the expert’s] summary, it does not know what
might come out on cross-examination that would be relevant.”).

e In re Omeprazole Pat. Litig., 190 F. Supp. 2d 582, 584 (S.D.N.Y.
2002) (citing Opus 3 Ltd. v. Heritage Park, Inc., 91 F.3d 625, 628-29
(4th Cir. 1996)) (“Usually an expert is either responding to the
theories of an adversary’s expert or is basing his opinion entirely on
facts adduced by fact witnesses at trial. Such experts are
infrequently sequestered.”)

US_ACTIVE\126543424\V-1
